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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

_______________________________________
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IN RE: NEW ENGLAND                               )       MDL No. 1:13-md-2419-FDS
COMPOUNDING PHARMACY, INC.                       )
PRODUCTS LIABILITY LITIGATION                    )
                                                 )
This Document Relates To:                        )
                                                 )
       All Actions                               )
                                                 )
                                                 )


                           ORDER ON MEDIATION PROGRAM

       This order establishes a mediation program for this matter (“the MDL”) and the

associated chapter 11 bankruptcy proceeding for New England Compounding Pharmacy, Inc.

(“NECC”).

I.     Background

       The Bankruptcy Trustee and the official committee of unsecured creditors (the

“Creditors’ Committee”) appointed in the chapter 11 bankruptcy of NECC and the Plaintiffs’

Steering Committee (the “PSC”) appointed in the MDL believe it is appropriate to establish a

mediation program to attempt to resolve certain claims in this proceeding. In particular, the

parties seek to resolve the claims of those parties (1) who are non-debtors and who are not

NECC-affiliated defendants, as defined by MDL Order No. 6; (2) who have or may have claims

asserted against them as defendants by personal-injury and wrongful-death plaintiffs that arise

out of or relate to NECC products; and (3) who, as a result of claims or potential claims against

them, have or may have indemnification, contribution, reimbursement or other claims against the

NECC estate. The parties have proposed such a program, including procedures intended to
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facilitate participation in the program that are intended to avoid unnecessary and costly and

protracted litigation and conserve limited resources.1

        Upon review of the proposals, the Court hereby establishes the following mediation

program. The Court may refer or delegate certain of its functions under this Order to the

Magistrate Judge or the Bankruptcy Judge.

II.     The Mediation Program

        A.       Voluntary Process. The mediation process is entirely voluntary. No party is

                 required to participate, nor will it be penalized for failing to participate.

        B.       Good-Faith Participation. All parties who participate in the mediation are

                 expected to do so in good faith.

        C.       Election to Participate. Any of the following parties may choose to participate

                 in the mediation program by filing a notice and agreement in this Court. The

                 form of such notice and agreement is attached as Appendix A.

                 1.       Any party named as a defendant or third-party defendant in any case

                          presently pending in the MDL or in any other state or federal court.

                 2.       Any other party with potential liability for claims related to or arising out

                          of the purchase or administration of NECC products, whether or not

                          involved in any current litigation or alternative dispute resolution

                          (“Potentially Responsible Parties”), who, together with the defendants,

                          comprise the “Unaffiliated Non-Debtor Claimants;” and

        1
            The Bankruptcy Trustee and Creditors’ Committee and the PSC have submitted proposals in accordance
with paragraph II.J of MDL Order No. 6. That order directed the parties “to confer and submit to the [MDL] Court
within 30 days a proposed mediation order to be entered in [the MDL] Court and the Bankruptcy Court concerning
all unaffiliated defendants and non-parties,” including certain specific requirements.

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     3.     Any employee, officer, director, agent, partner, shareholder, guarantor,

            indemnitor, affiliate, or subsidiary of a defendant or Potentially

            Responsible Party who has potential direct or secondary liability in

            connection with NECC; provided that, in the alternative to filing a

            participation notice and agreement, such affiliated party may join in a

            notice filed by an Unaffiliated Non-Debtor Claimant by identifying

            themselves and co-executing the notice and agreement.

D.   Opt-In Date. Any notice and agreement under subparagraph C shall be filed by

     September 23, 2013.

E.   Selection of Mediator. The Bankruptcy Trustee, the Creditors’ Committee, and

     the PSC, together with any Unaffiliated Non-Debtor Claimants who provide

     notice by September 23, 2013, that they wish to participate in the mediation and

     the mediator selection process, shall meet and confer in good faith to agree upon a

     mediator, subject to approval and appointment by the District Court. The

     Unaffiliated Non-Debtor Claimants who so elect shall then promptly meet and

     confer in an effort to organize themselves and appoint a self-governed liaison

     committee of no more than seven members for the purpose of facilitating the

     mediator selection process and mediation logistical issues, as well as such other

     agreed-upon organization, management, and liaison functions. The committee

     need not be appointed or approved by the Court and is solely constituted for the

     purposes described herein. The Unaffiliated Non-Debtor Claimants shall provide

     a list of the members of the committee to the Bankruptcy Trustee, the Creditors’


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     Committee, and the PSC no later than September 30, 2013. The parties to the

     mediation shall attempt to negotiate in good faith their respective responsibilities

     for the fees and related costs of the mediator’s services and shall consider whether

     a cap on such fees is appropriate. The parties to the mediation shall submit a joint

     proposal to this Court for a mediator and a proposal for a fee-sharing structure no

     later than October 7, 2013. If the parties to the mediation have not agreed as to a

     mediator by that date, any party may submit a proposal to this Court regarding the

     appointment of a mediator no later than October 14, 2013. All defendants and

     known Potentially Responsible Parties shall thereafter be notified of the choice of

     mediator within ten days of the Court’s order with respect to the selection of a

     mediator.

F.   Supervision by Court. The Court expects that the mediation efforts will be

     largely self-executing, and will not require active court supervision or

     intervention. This Court shall have jurisdiction over all aspects of the mediation

     program, except as specifically delegated by this Court. The parties to the

     mediation shall meet and confer no later than October 21, 2013, regarding any

     procedures that may be necessary and appropriate to govern any disputes that may

     arise in the mediation.

G.   Formal Discovery. To the extent that formal discovery is reasonably necessary

     to preserve evidence, the involved parties by agreement or by order of the this

     Court may take such discovery. Any party may apply for relief on shortened

     notice in such situations may be made to this Court if exceptional circumstances


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     warrant.

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H.   Informal Discovery. In order to participate in the mediation program, eligible

     entities or individuals must provide the following informal discovery to the

     Bankruptcy Trustee, the Creditors’ Committee, and the PSC by the deadlines and

     in the manner established by the mediator:

     1.     As to Clinic, Health Care Provider, and Hospital Participants Only:

            a.      Such information as the mediator may reasonably require

            concerning the number and identity of potential claimants who may have

            been administered methylprednisolone acetate that came, or likely came,

            from one of the following three lots produced by NECC: 05212012@68,

            06292012@26, and 08102012@51 (the “Lots”), consistent with the

            physician-patient privilege and any other healthcare privacy protections.

            b.      A statement fully identifying the entity(ies) or person(s) from

            whom the Lots were purchased or obtained.

     2.     As to All Defendants and Potentially Responsible Party Participants:

            a.      Any professional liability, general liability, and comprehensive or

            umbrella insurance policies, issued to the clinic or healthcare provider

            and/or its principal officers and directors, for the policy periods including

            calendar years 2012 and 2013.

            b.      Any documents relating to any reservation of rights or rejection or

            limitation of insurance coverage relating to the claims related to or arising

            out of the purchase or administration of the Lots.


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           c.     Any agreements covering calendar year 2012 whereby the

           participant agreed to indemnify another party (or required another party to

           indemnify it) in connection with the claims related to or arising out of the

           purchase or administration of the Lots.

           d.     A list of all Potentially Responsible Parties liable to tort claimants

           or liable to the defendants or another Potentially Responsible Party

           regarding injuries related to the allegedly contaminated

           methylprednisolone acetate and the grounds or basis of the claim.

     3.    The mediator and/or the Court shall determine whether any additional

           information or documents should be provided or exchanged in order to

           facilitate a mediated settlement or resolution and the timing and manner of

           the production. The Court may in its discretion allow examinations under

           oath under such terms, limits, and conditions as it may prescribe and

           which may be conducted in deposition format pursuant to the Federal

           Rules of Civil Procedure or equivalent Federal Rule of bankruptcy

           Procedure.

     4.    This Court's protective orders concerning HIPAA and healthcare

           information shall be applicable to mediation program’s participants. Any

           party producing materials within the mediation program may designate

           such materials as confidential pursuant to such protective order.

     5.    All such documents produced or exchanged in connection within the

           mediation shall be deemed confidential for purposes of mediation, and


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            shall not be admissible in any later proceeding except to the extent

            necessary to address the sufficiency of such production, or relating to

            failure to mediate in good faith. Such documents, if filed with the Court,

            shall be filed under seal. No parties participating in the mediation

            program shall disclose information obtained in the mediation program to

            anyone other than other participants in the mediation program (including

            the mediator), the Bankruptcy Court, or this Court. All documents

            supplied by any participant during the mediation process will be returned

            in the event the mediation process is not successful, with no copy of any

            such document being retained by any other party. The relevant parties may

            mutually agree, however, to retain documents that ordinarily would be

            produced or obtained during discovery and are encouraged to so agree to

            minimize costs.

I.   No Admission of Liability. By agreeing to participate in the mediation program,

     a party does not admit in any way that it has actual or potential liability to any

     other party, and the use of the term “potential liability” in this Order shall not be

     construed as an admission by any party.

J.   Participation Notice and Agreement. A participation notice and agreement

     must be executed and mailed to the Bankruptcy Trustee, counsel for the

     Creditor’s Committee, and lead counsel for the PSC at the following addresses:




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     1.     To the Bankruptcy Trustee:

            Paul D. Moore, Esq.
            Duane Morris, LLP
            Suite 2400
            100 High Street
            Boston, MA 02110
            pdmoore@duanemorris.com

     2.     To counsel for the Creditors’ Committee:

            William R. Baldiga Esq.
            Brown Rudnick LLP
            One Financial Center
            Boston MA 02111
            E-mail: Wbaldiga@brownrudnick.com

     3.     To lead counsel for the PSC:

            Thomas M. Sobol Esq.
            Hagens Berman Sobol Shapiro LLP
            55 Cambridge Parkway, Suite 301
            Cambridge MA 02142
            E-mail: tom@hbsslaw.com

K.   Submission to Jurisdiction. A participation notice and agreement shall be

     effective on and as of the date it is executed. By executing a participation notice

     and agreement, a party shall be deemed to submit to the jurisdiction of this Court

     for all matters relating to the interpretation and enforcement of this Order.

L.   Other Requirements of Mediation. Upon the effective date of a participation

     notice and agreement, and based upon the voluntary consent provisions contained

     in the participation notice and agreement:

     1.     Bankruptcy Court Proof of Claim. Any Unaffiliated Non-Debtor

            Claimant or its affiliate executing a participation notice and agreement

            shall, if it has not already done so, file a proof of claim with the

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           Bankruptcy Court within ten days of the effective date of the participation

           notice and agreement.

     2.    MDL Discovery Stay. Any person, organization, or entity executing a

           participation notice and agreement shall not be subject to discovery in the

           MDL except as provided in this Order, or as otherwise directed by the

           Court. All discovery in the MDL is stayed as to such enrolled participants

           until further order of this Court. Nothing in this paragraph shall prohibit

           the parties from voluntarily providing documents responsive to subpoenas

           previously served by the PSC (and as modified by agreement or by this

           Court).

     3.    Tolling of Limitations Periods. Any person, organization, or entity

           executing a participation notice and agreement, together with their

           respective heirs, successors, assigns, personal representatives, or

           bankruptcy trustees, general partners, and joint-venture partners, are

           deemed to agree and warrant that, with respect to civil liability that are

           based upon, arising out of, or relating to persons or estate of any deceased

           person claiming they (or a person upon which they are derivatively

           claiming) were administered allegedly defective or contaminated NECC

           products, the running of time under any statute of limitations or repose or

           by way of estoppel, laches, or any other time-related defense shall be

           tolled and suspended from the effective date of their participation notice

           and agreement until further order of this Court. Each person,


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           organization, or entity executing a participation notice and agreement

           agrees and warrants that, should time-related defenses apply under state

           law, the time elapsed during the tolling period shall not be used in the

           calculation of any time-related defense, including but not limited to, any

           statute of limitations or repose, laches, or estoppel or state law suit

           requirements which would otherwise arise during such tolling period. By

           filing a participation notice and agreement or by deferring filing any suit

           in reliance on this tolling order, no party is waiving any claims or

           time-related defenses that may have accrued up to the effective date of the

           participation notice and agreement. This Order shall not be construed as a

           tolling or waiver of any claim or time-related defense that has arisen as of

           the effective date or which may arise after the date of termination of

           tolling period, excluding the period during which this provision has

           operated to toll any time-related defense.

      4.   Stay and Extension of State-Law Suit Requirements. Any person,

           organization, or entity executing a participation notice and agreement,

           together with their respective heirs, successors, assigns, personal

           representatives, or bankruptcy trustees, general partners, and joint-venture

           partners, agrees and warrants that, with respect to civil liability claims

           against healthcare providers filing a participation notice and agreement,

           any state-law suit requirements in any lawsuit, case or claim, whether filed

           or not, asserting, or based upon unaffiliated non-debtor liability claims are


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             voluntarily waived, stayed, or extended, as the case may require, until

             further order of this Court. Each person, organization, or entity executing

             a participation notice and agreement agrees and warrants that time elapsed

             during the period the stay/extension is in force shall not be used in the

             calculation of due or action dates prescribed in any state law suit

             requirements, including but not limited to the time to file, serve, obtain or

             present any pre-suit notice, any affidavit or certification of merit, or any

             request for panel review or arbitration requirement.

      5.     Lists of Potentially Responsible Parties. As to any claims arising under

             Tennessee, Ohio, or Nevada law that are governed by a one-year statute of

             limitations, all lists provided pursuant to this order relating to Potentially

             Responsible Parties and allegations asserted by the participating party

             shall not be expanded should the mediation not be successful in achieving

             a settlement or resolution with the party submitting it as to all claims

             related to or arising out of the purchase or administration of recalled

             NECC products.

M.    Notice of this Order. A copy of this order and the form of participation notice

      and agreement shall also be posted on the Bankruptcy Trustee’s website for

      NECC. To the extent any of the following (or their counsel) do not otherwise

      receive them electronically from this Court or the Bankruptcy Court, the

      Bankruptcy Trustee shall promptly provide written notice of this order and the

      form of participation notice and agreement to (1) those customers of NECC who


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      received products from the Lots; (2) all known defendants (other than affiliated

      defendants) in actions related to or arising out of the purchase or administration of

      the Lots; and (3) any party (or its representative) who the Bankruptcy Trustee

      learns may qualify for participation in mediation, including parties identified as

      Potentially Responsible Parties during the proof of claim process in the

      Bankruptcy Court.

N.    List of Unaffiliated Non-Debtor Claimants. The Creditors’ Committee and the

      PSC shall be responsible for maintaining a list all Unaffiliated Non-Debtor

      Claimants with an active submitted participation notice and agreement, and for

      providing it to the Bankruptcy Trustee on a current basis. If, for any reason, the

      Bankruptcy Trustee, the Creditors’ Committee, or the PSC deem it necessary to

      file the list of Unaffiliated Non-Debtor Claimants to the Bankruptcy Court or this

      Court, or to identify any of the participants, they shall do so under seal.

O.    Termination by Mediator or Court. The active mediation process shall

      continue until (1) the mediator declares an impasse as to a participant, in which

      case the mediation and discovery stay shall end either as to that participant only,

      or as to the mediation program as a whole (in which latter case the mediation

      program and the discovery stay shall end as to all parties); or (2) ordered

      terminated in whole or part by this Court sua sponte or upon application of any

      party showing good cause for the termination.

P.    Voluntary Termination by Party. Any person or entity may withdraw on notice

      to the mediator, upon which the terms of this mediation program shall cease to


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              apply to that person or entity, including without limitation the stay of discovery

              against any such person or entity.

      Q.      Schedule of Mediation. The schedule, location and time of each mediation

              session shall be either (1) established by the mediator, subject to the advice and

              consent of the parties to the mediation or (2) should there be any conflict as to any

              of the foregoing not amenable to resolution by the mediator, subject to the order

              of this Court.

      R.      Position Papers. The mediator may require, in anticipation of any mediation

              session, production of such position papers or briefs as s/he may reasonably

              require.

      S.      Ex Parte Communications. Ex parte communication with the mediator is

              permitted subject to such further disclosure as the mediator and the

              communicating party may agree.

      T.      Modification by Court. This Court may modify the terms of the mediation

              program as necessary or appropriate to facilitate the mediation process

              contemplated hereby.

So Ordered.




                                                    /s/ F. Dennis Saylor
                                                    F. Dennis Saylor IV
                                                    United States District Judge
Dated: August 15, 2013




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